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6         IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

7                                             CALIFORNIA

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                                                     Case Number: 2:19-cr-00091-MCE-5
11   THE UNITED STAES OF AMERICA
                                                     STIPULATION AND [PROPOSED]
12   V                                               ORDER TO EXTEND PERIOD TO FILE
                                                     SECURED BOND
13   JOHNESHA THOMPSON

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19                 Plaintiff United States of America, by and through its counsel of record, and the
20   Defendant, by and through her counsel of record, hereby stipulate as follows:
21          1. On May 30, 2019 Defendant Johnesha Thompson was released on a $200, 000 bond by
22   Magistrate Judge Debra Barnes. That bond was signed by Defendant's grandmother Dorothea
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     Adair. The bond was unsecured as of May 30, 2019. The Court ordered that a $200,000 secured
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     bond be filed within two weeks (June 13, 2019) secured by property owned by Ms. Adair. The
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1    Court also indicated that if more time was needed to get a secured bond in place Defendant could

2    apply to the Court for an extension.

3           Attorney Hedberg has diligently pursued the bond. However, there has been a delay in
4    getting title search documents.
5           As a result, Defendant does not feel that the proper material will be ready so that the bond
6    can be posted by June 13, 2019.
7           Defendant has spoken with AUSA David Spencer and PTSOs Margareta Zepeda and
8    Daryl Walker and informed them of the situation.
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            Both have agreed that an extension is appropriate.
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            2. .     The parties agree and stipulate, and request that the Court find the following:
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            a.       Defense counsel has diligently pursued a secured bond in this case.
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            b.       A delay has occurred in the acquisition of a title report by Defense Counsel;
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            c.       It is appropriate to extend the time period to file the secured bond package to June
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                     26, 2019;
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            d.       The government does not object to the continuance.
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     IT IS SO STIPULATED
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     Respectfully submitted
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     /s/ Olaf W. Hedberg                                           /s/ David Spencer
22   Olaf W. Hedberg                                               David Spencer
     Attorney for Johnesha Thompson                                Assistant United States Attorney
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1
                                                 ORDER
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            GOOD CAUSE APPEARING, it is hereby ordered that the June 13, 2019 deadline to
4    post a secured bond in the matter at bar be extended to June 26, 2019.
5           IT IS SO ORDERED.

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     Dated: June 12, 2019.

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